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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
BEN LAMBETH, §
Plaintiff, ;
Vv. : Case No. 5:18-CV-00661-HJB
BREAKAWAY PRACTICE, LLC, :
Defendant. :

ORDER ON DEFENDANT’S MOTION TO COMPEL PLAINTIFF’S RESPONSES

TO DEFENDANT’S FIRST REQUEST FOR PRODUCTION AND FIRST SET OF
INTERROGATORIES [DKT. #32], PLAINTIFF’S MOTION TO COMPEL [DKT. #43],
AND DEFENDANT’S MOTION FOR PROTECTIVE ORDER [DKT. #48]

CAME FOR CONSIDERATION on this the 25th day of June, 2019, Defendant

BREAKAWAY PRACTICE, LLC (“Defendant”), who presented to this Court its Motion to
Compel Plaintiff's Responses to Defendant’s First Requests for Production and First Set of
Interrogatories [Dkt. #32] in the above-entitled and numbered cause (the “Defendant’s Motion to
Compel”) and their Motion for Protective Order [Dkt. #48] (the “Defendant’s Motion for
Protective Order”) and Plaintiff Ben Lambeth (‘Plaintiff’), who presented to the Court his Motion
to Compel [Dkt. #43] (the “Plaintiff's Motion to Compel”), The Court, after reviewing
Defendant’s Motion to Compel [Dkt. #32] and after reviewing the pleadings on file, is of the
opinion that Defendant’s Motion to Compel should be GRANTED IN PART and DENIED IN
PART as set forth herein, that the Plaintiff's Motion to Compel [Dkt. #43] should be GRANTED
IN PART and DENIED IN PART as set forth herein, and that the Defendant’s Motion for

Protective Order [Dkt. #48] should be DENIED WITHOUT PREJUDICE as set forth herein.

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IT 1S, THEREFORE, ORDERED, ADJUDGED, AND DECREED that, with respect
to Defendant’s Motion to Compel [Dkt. #32], the Court ORDERS, as follows:.

e Plaintiff is hereby ORDERED to provide full and complete responses to Defendant’s First
Set of Interrogatories Nos. 1 and 2 by July 12, 2019. In response thereto, Plaintiff is
permitted to provide Defendant with business records containing the information requested
in Interrogatories Nos. 1 and 2 in native format or as they are kept in the usual course of
business or in the form provided or made accessible to Plaintiff during the pendency of the
contractual or business relationship between Plaintiff and Defendant.

¢ Plaintiff is further ORDERED to serve sworn verifications to Defendant’s First Set of
Interrogatories by July 12, 2019.

e Defendant’s Motion to Compel Requests for Production Nos. 1-16, 19, and 23 is DENIED,
without prejudice, as to the following objections:

o Plaintiffs objections and assertions of “subject to and without waiving the foregoing
objections .. .” language to Requests for Production Nos. 1-16, 19, and 23;

o Plaintiff's “Attorney-Client” and “Common Interest Doctrine” objections and privilege
assertions to Requests for Production Nos. 2, 4, 5, 6, 8, 11, 12, 13, and 14; and,

o Plaintiff's relevancy and proportionality objections to Requests for Production Nos. 1-
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ORDER ON DEFENDANT’S MOTION TO COMPEL PLAINTIFF’S RESPONSES

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Defendant is permitted to re-serve Plaintiff with requests for production seeking
communications between Plaintiff and those individuals identified in Requests for
Production Nos. 1-16, 19, and 23 with specific details about the format or media in which
the electronic communications were made (eg, www.facebook.com,
www.dentaltown.com, text messages, WhatsApp, or electronic mail).

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, with respect to

Plaintiff's Motion to Compel [Dkt. #43], the Court ORDERS, as follows:

Defendant’s objections to Interrogatories Nos. 4, 5, and 11 and Requests for Production
No. 11-17 are SUSTAINED; provided, however, that Plaintiff is permitted to re-serve
Defendant with an Interrogatory requesting Defendant to identify any and all seminars
between July 28, 2013 through September 16, 2016 where Dr. Scott Leune spoke about or
marketed the Affiliate Program. Defendant’s answer to the aforementioned Interrogatory
shall be served by July 12, 2019.

Defendant’s objections to Requests for Production No. 18-23 are SUSTAINED
WITHOUT PREJUDICE; provided, however, that Plaintiff is permitted to serve
Defendant with Requests for Production seeking information about Defendant as an “alter
ego” of other Breakaway-affiliated entities.

IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Defendant's

Motion for Protective Order [Dkt. #48] is hereby DENIED WITHOUT PREJUDICE. At the

hearing on Defendant’s Motion for Protective Order, the Parties agreed, on the record, to submit

an agreed Rule 29 Stipulation permitting certain third-parties to receive documents designated as

“Confidential” under the Agreed Protective Order without causing any violation thereof.

ORDER ON DEFENDANT’S MOTION TO COMPEL PLAINTIFF’S RESPONSES

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INTERROGATORIES [DKT #32], PLAINTIFF’S MOTION TO COMPEL [DKT. #43], AND
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All relief not expressly granted herein is otherwise DENIED.

IT IS SO ORDERED.
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SIGNED on this the day of , 2019.

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